                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                              Plaintiff,     )
                                             )
               v.                            )      No. 4:08-cr-00297-FJG-9
                                             )
ANAHIT NSHANIAN,                             )
                                             )
                              Defendant.     )


                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

       Pursuant to the Report and Recommendation (Doc. #390 filed May 21, 2010) of United

States Magistrate Judge John T. Maughmer, to which no objection has been filed, the plea of guilty

to Count 1 of the Indictment is now accepted. Defendant is adjudged guilty of such offense.

Sentencing will be set by subsequent order of the court.


                                                    /s/ Fernando J. Gaitan, Jr.
                                                    Fernando J. Gaitan, Jr.
                                                    Chief United States District Judge

Dated: June 10, 2010
Kansas City, Missouri




       Case 4:08-cr-00297-FJG          Document 405        Filed 06/10/10    Page 1 of 1
